                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Karen M. Smargiassi
       Julius R. Smargiassi aka Julius R Smargiassi, Jr
                               Debtor(s)                                           CHAPTER 13

Wells Fargo Bank, N.A., as Trustee for the EMC
Mortgage Loan Trust 2002-A, Mortgage Pass-Through
Certificates Series 2002-A, its successors and/or assigns
                                  Movant                                         NO. 16-00910 HWV
                 vs.

Karen M. Smargiassi
Julius R. Smargiassi aka Julius R Smargiassi, Jr
                                 Debtor(s)

Jack N. Zaharopoulos
                                 Trustee


                                        PRAECIPE TO WITHDRAW

TO THE CLERK OF THE BANKRUPTCY COURT:
   Kindly withdraw the Notice of Mortgage Payment Change of Wells Fargo Bank, N.A., as Trustee for
the EMC Mortgage Loan Trust 2002-A, Mortgage Pass-Through Certificates Series 2002-A, which was
filed with the Court on or about June 25, 2021.
                                                       Respectfully submitted,


                                                       /s/ Rebecca A. Solarz, Esq.
                                                       ____________________________________
                                                       Rebecca A. Solarz, Esquire
                                                       KML Law Group, P.C.
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Dated: July 6, 2021




   Case 5:16-bk-00910-HWV             Doc 76 Filed 07/06/21 Entered 07/06/21 13:57:11               Desc
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